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                            I‭ N THE UNITED STATES DISTRICT COURT‬
                          ‭FOR THE NORTHERN DISTRICT OF ILLINOIS‬


‭ ollectanea J. Limited,‬
C                                                                 )‭ ‬
‭a Hong Kong Limited Corporation‬                                  ‭)‬              ‭Case:‬
                                                                    ‭)‬
                  ‭Plaintiff,‬                                       ‭)‬            ‭Judge:‬
                                                                      ‭)‬
         ‭v.‬                                                          ‭)‬          ‭Mag. Judge:‬
                                                                        ‭)‬
‭ he Partnerships And‬
T                                                                        ‭)‬
‭Unincorporated Associations‬                                             ‭)‬
 ‭Identified On Schedule “A”‬                                              ‭)‬
                                                                            ‭)‬
             ‭ efendants.‬
             D                                                               ‭)‬
‭__________________________________‬                                          ‭)‬

                        ‭COMPLAINT FOR COPYRIGHT INFRINGEMENT‬

         ‭Plaintiff,‬ ‭Collectanea‬ ‭J.‬ ‭Limited,‬ ‭a‬ ‭Hong‬ ‭Kong‬ ‭Limited‬ ‭Corporation‬ ‭(hereinafter,‬

‭“Plaintiff”‬ ‭or‬ ‭“Collectanea”),‬ ‭hereby‬ ‭brings‬ ‭the‬ ‭present‬ ‭action‬ ‭against‬ ‭The‬ ‭Partnerships‬ ‭And‬

‭Unincorporated‬ ‭Associations‬ ‭Identified‬ ‭on‬ ‭Schedule‬ ‭“A”‬ ‭attached‬ ‭hereto,‬ ‭(collectively,‬

‭“Defendants”) and alleges as follows:‬

                                        ‭JURISDICTION AND VENUE‬

         ‭1.‬     ‭This‬ ‭Court‬ ‭has‬ ‭original‬ ‭subject‬ ‭matter‬ ‭jurisdiction‬ ‭over‬ ‭the‬‭claims‬‭in‬‭this‬‭action‬

‭pursuant‬ ‭to‬ ‭provisions‬ ‭of‬ ‭28‬ ‭U.S.C.‬ ‭§‬ ‭1338(a)‬ ‭–‬ ‭(b)‬ ‭and‬ ‭28‬ ‭U.S.C.‬ ‭§‬ ‭1331‬ ‭and‬ ‭the‬ ‭Federal‬

‭Copyright Act, 17 U.S.C. § 101, et seq.‬

         ‭2.‬     ‭Venue‬ ‭is‬ ‭proper‬ ‭in‬ ‭this‬ ‭Court‬ ‭pursuant‬ ‭to‬‭28‬‭U.S.C.‬‭§‬‭1391,‬‭and‬‭this‬‭Court‬‭may‬

‭properly‬ ‭exercise‬ ‭personal‬ ‭jurisdiction‬ ‭over‬ ‭Defendants‬ ‭since‬ ‭each‬ ‭of‬ ‭the‬ ‭Defendants‬ ‭directly‬

‭targets‬ ‭business‬ ‭activities‬ ‭toward‬ ‭consumers‬ ‭in‬ ‭the‬ ‭United‬‭States,‬‭including‬‭Illinois,‬‭through‬‭at‬

‭least‬ ‭the‬ ‭fully‬ ‭interactive,‬ ‭commercial‬ ‭internet‬ ‭stores‬ ‭operating‬ ‭under‬ ‭the‬ ‭Defendant‬ ‭Names/‬
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‭Aliases‬ ‭in‬ ‭Schedule‬ ‭A‬ ‭attached‬ ‭hereto‬ ‭(collectively,‬ ‭the‬ ‭“Defendant‬ ‭Internet‬ ‭Stores”).‬

‭Specifically,‬‭Defendants‬‭reach‬‭out‬‭to‬‭do‬‭business‬‭with‬‭Illinois‬‭residents‬‭by‬‭operating‬‭one‬‭or‬‭more‬

‭commercial,‬ ‭interactive‬ ‭Defendant‬ ‭Internet‬ ‭Stores‬ ‭through‬ ‭which‬ ‭Illinois‬ ‭residents‬ ‭can‬‭and,‬‭on‬

‭information‬ ‭and‬ ‭belief,‬ ‭have‬ ‭purchased‬ ‭products‬ ‭bearing‬ ‭infringing‬ ‭versions‬ ‭of‬ ‭Plaintiff’s‬

‭federally registered copyright registrations.‬

         ‭3.‬     ‭Each‬ ‭of‬ ‭the‬ ‭Defendants‬ ‭has‬ ‭targeted‬ ‭sales‬ ‭from‬ ‭Illinois‬ ‭residents‬ ‭by‬ ‭operating‬

‭online‬ ‭stores‬ ‭that‬‭offer‬‭shipping‬‭to‬‭the‬‭United‬‭States,‬‭including‬‭Illinois,‬‭accept‬‭payment‬‭in‬‭U.S.‬

‭dollars‬ ‭and,‬ ‭on‬ ‭information‬ ‭and‬ ‭belief,‬ ‭has‬ ‭sold‬ ‭products‬ ‭that‬ ‭infringe‬ ‭Plaintiff’s‬ ‭federally‬

‭registered‬‭intellectual‬‭property.‬‭As‬‭a‬‭result,‬‭each‬‭of‬‭the‬‭Defendants‬‭is‬‭committing‬‭tortious‬‭acts‬‭in‬

‭Illinois,‬ ‭is‬ ‭engaging‬ ‭in‬ ‭interstate‬ ‭commerce,‬ ‭and‬ ‭has‬ ‭wrongfully‬ ‭caused‬ ‭Plaintiff‬ ‭substantial‬

‭injury in the State of Illinois.‬

         ‭4.‬     ‭Alternatively,‬ ‭Defendants‬ ‭are‬ ‭subject‬ ‭to‬ ‭personal‬ ‭jurisdiction‬ ‭in‬ ‭this‬ ‭district‬

‭pursuant‬ ‭to‬ ‭Federal‬ ‭Rule‬ ‭of‬ ‭Civil‬ ‭Procedure‬ ‭4(k)(2)‬ ‭because‬ ‭(i)‬ ‭Defendants‬ ‭are‬ ‭not‬ ‭subject‬ ‭to‬

‭jurisdiction‬ ‭in‬ ‭any‬ ‭state’s‬ ‭court‬ ‭of‬ ‭general‬ ‭jurisdiction;‬ ‭and‬ ‭(ii)‬ ‭exercising‬ ‭jurisdiction‬ ‭is‬

‭consistent with the United States Constitution and laws.‬

                                                ‭INTRODUCTION‬

         ‭5.‬     ‭This‬ ‭action‬ ‭has‬ ‭been‬ ‭filed‬ ‭by‬ ‭Plaintiff‬ ‭to‬ ‭combat‬ ‭online‬ ‭e-commerce‬ ‭store‬

‭operators‬ ‭who‬ ‭trade‬ ‭upon‬ ‭Plaintiff’s‬ ‭reputation‬‭and‬‭goodwill‬‭by‬‭selling‬‭and/or‬‭offering‬‭for‬‭sale‬

‭products in connection with Plaintiff’s federally registered copyright.‬

         ‭6.‬     ‭On‬ ‭May‬ ‭22,‬ ‭2023,‬ ‭Plaintiff‬ ‭registered‬ ‭four‬ ‭hundred‬ ‭and‬ ‭ninety‬ ‭(490)‬ ‭product‬

‭photographs‬‭depicting‬‭beaded‬‭jewelry‬‭(hereinafter‬‭referred‬‭to‬‭as‬‭the‬‭“Beadnova‬‭Works”)‬‭with‬‭the‬

‭United‬‭States‬‭Copyright‬‭Office‬‭and‬‭received‬‭Registration‬‭No.‬‭VA‬‭2-348-115.‬‭A‬‭true‬‭and‬‭correct‬

‭copy‬ ‭of‬ ‭the‬ ‭federal‬ ‭registration‬ ‭record‬ ‭for‬ ‭the‬ ‭Beadnova‬ ‭Works,‬ ‭with‬ ‭relevant‬ ‭samples,‬ ‭is‬
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‭attached‬‭hereto‬‭as‬‭Exhibit‬‭One.‬‭The‬‭Registration‬‭is‬‭valid,‬‭subsisting,‬‭and‬‭in‬‭full‬‭force‬‭and‬‭effect.‬

‭Examples of Plaintiff’s tasteful, original, and creative registration are provided below:‬




                                                                 ‭File:‬    ‭GEM-0001-0106-8‬




                                                                   ‭File: GEM-0001-01014-6‬
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                                                                          ‭File: GEM-0001-0106-2‬

         ‭7.‬      ‭The‬ ‭Defendant‬ ‭Internet‬ ‭Stores‬ ‭include‬ ‭in‬ ‭their‬ ‭offers‬ ‭for‬ ‭sale‬ ‭and‬ ‭sale‬ ‭listings‬

‭either‬‭identical‬‭or‬‭substantially‬‭similar‬‭images‬‭as‬‭the‬‭images‬‭registered‬‭in‬‭the‬‭Beadnova‬‭Works.‬

‭This‬‭falsely‬‭implies‬‭to‬‭consumers‬‭that‬‭there‬‭is‬‭an‬‭association‬‭between‬‭the‬‭Defendants’‬‭products‬

‭and Plaintiff’s products.‬

         ‭8.‬      ‭In‬ ‭their‬ ‭offers‬ ‭for‬ ‭sale‬ ‭and‬ ‭displays,‬ ‭the‬ ‭Defendant‬ ‭Internet‬ ‭Stores‬ ‭share‬ ‭unique‬

‭identifiers,‬ ‭such‬ ‭as‬ ‭design‬ ‭elements‬ ‭and‬ ‭similarities‬ ‭of‬ ‭the‬ ‭infringing‬‭products‬‭offered‬‭for‬‭sale,‬

‭establishing‬ ‭a‬ ‭logical‬ ‭relationship‬ ‭between‬ ‭them‬ ‭and‬ ‭suggesting‬ ‭that‬ ‭Defendants’‬ ‭illegal‬

‭operations‬‭arise‬‭out‬‭of‬‭the‬‭same‬‭transaction,‬‭occurrence,‬‭or‬‭series‬‭of‬‭transactions‬‭or‬‭occurrences.‬

‭Defendants‬‭attempt‬‭to‬‭avoid‬‭liability‬‭by‬‭going‬‭to‬‭great‬‭lengths‬‭to‬‭conceal‬‭both‬‭their‬‭identities‬‭and‬

‭the full scope and interworking of their illegal operation.‬

         ‭9.‬      ‭Plaintiff‬‭is‬‭forced‬‭to‬‭file‬‭this‬‭action‬‭to‬‭combat‬‭Defendants’‬‭copyright‬‭infringement‬

‭and to protect unknowing consumers.‬

         ‭10.‬     ‭Plaintiff‬ ‭has‬ ‭been‬ ‭and‬ ‭continues‬ ‭to‬ ‭be‬ ‭irreparably‬ ‭damaged‬ ‭through‬ ‭consumer‬

‭confusion,‬‭dilution,‬‭and‬‭tarnishment‬‭of‬‭its‬‭valuable‬‭registered‬‭copyright.‬‭In‬‭addition,‬‭Plaintiff‬‭has‬

‭been‬ ‭irreparably‬ ‭damaged‬ ‭by‬ ‭the‬ ‭loss‬ ‭of‬ ‭exclusivity‬ ‭of‬ ‭its‬ ‭registered‬ ‭copyright‬ ‭as‬ ‭a‬ ‭result‬ ‭of‬

‭Defendants’ actions. As a result of these injuries, Plaintiff seeks injunctive and monetary relief.‬
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           ‭11.‬   ‭This‬‭Court‬‭has‬‭personal‬‭jurisdiction‬‭over‬‭each‬‭Defendant,‬‭in‬‭that‬‭each‬‭Defendant‬

‭conducts‬ ‭business‬ ‭in‬ ‭the‬ ‭United‬ ‭States,‬ ‭in‬‭Illinois‬‭and‬‭in‬‭this‬‭Judicial‬‭District,‬‭and‬‭the‬‭acts‬‭and‬

‭events‬ ‭giving‬ ‭rise‬ ‭to‬ ‭this‬ ‭lawsuit‬ ‭were‬ ‭undertaken‬ ‭in‬ ‭Illinois‬ ‭and‬ ‭in‬ ‭this‬ ‭Judicial‬ ‭District.‬ ‭In‬

‭addition,‬‭each‬‭defendant‬‭has‬‭offered‬‭to‬‭sell‬‭and‬‭ship‬‭and,‬‭on‬‭information‬‭and‬‭belief,‬‭has‬‭sold‬‭and‬

‭shipped, infringing products into this Judicial District.‬

                                                   ‭THE PLAINTIFF‬

           ‭12.‬   ‭Plaintiff‬ ‭Collectanea‬ ‭J.‬ ‭Limited,‬ ‭is‬‭a‬‭Hong‬‭Kong‬‭Limited‬‭Corporation‬‭having‬‭its‬

‭principal‬ ‭place‬ ‭of‬ ‭business‬ ‭at‬ ‭Flat/Rm‬ ‭13‬ ‭02/F,‬ ‭New‬‭City‬‭Centre,‬‭2‬‭Lei‬‭Yue‬‭Mun‬‭Road,‬‭Kwun‬

‭Tong, Hong Kong.‬

           ‭13.‬   ‭This‬ ‭action‬ ‭has‬ ‭been‬ ‭filed‬ ‭by‬ ‭Plaintiff‬ ‭to‬ ‭combat‬ ‭online‬ ‭e-commerce‬ ‭store‬

‭operators‬ ‭who‬ ‭trade‬ ‭upon‬ ‭Plaintiff’s‬ ‭reputation‬‭and‬‭goodwill‬‭by‬‭selling‬‭and/or‬‭offering‬‭for‬‭sale‬

‭products in connection with Plaintiff’s federally registered copyright.‬

           ‭14.‬   ‭Plaintiff‬ ‭utilizes‬ ‭the‬ ‭registered‬ ‭“Beadnova‬ ‭Works”‬ ‭in‬ ‭connection‬ ‭with‬ ‭the‬

‭advertisement,‬ ‭marketing‬ ‭and‬ ‭sale‬ ‭of‬ ‭retail‬ ‭items,‬ ‭including‬ ‭products‬ ‭sold‬ ‭under‬ ‭Plaintiff’s‬

‭Trademark‬ ‭BEADNOVA,‬ ‭assigned‬ ‭Registration‬ ‭No.‬ ‭4663497‬ ‭(“Beadnova‬ ‭Products”‬

‭hereinafter),‬ ‭for‬ ‭goods‬ ‭in‬‭class‬‭14.‬‭The‬‭Beadnova‬‭Works‬‭are‬‭utilized‬‭to‬‭sell‬‭Beadnova‬‭products‬

‭through‬ ‭the‬ ‭Amazon,‬ ‭Aliexpress,‬ ‭and‬ ‭Wish‬ ‭platforms,‬ ‭as‬ ‭well‬ ‭as‬‭through‬‭authorized‬‭licensees.‬

‭Beadnova‬ ‭products‬ ‭have‬ ‭been‬ ‭widely‬ ‭promoted,‬ ‭both‬ ‭in‬ ‭the‬ ‭United‬ ‭States‬ ‭and‬ ‭throughout‬ ‭the‬

‭world.‬

           ‭15.‬   ‭While‬‭Plaintiff‬‭enjoys‬‭exclusivity‬‭of‬‭select‬‭authorized‬‭retailers,‬‭sales‬‭of‬‭Plaintiff’s‬

‭Beadnova products represent the majority of Plaintiff’s business.‬

           ‭16.‬   ‭Plaintiff has been using the Beadnova Works since on or around August 22, 2017.‬
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         ‭17.‬      ‭Plaintiff‬ ‭controls‬ ‭the‬ ‭content,‬ ‭designs,‬ ‭and‬ ‭images‬ ‭displayed‬ ‭in‬ ‭the‬ ‭Beadnova‬

‭Works.‬

         ‭18.‬      ‭The‬‭Beadnova‬‭Works‬‭have‬‭not‬‭been‬‭assigned‬‭or‬‭licensed‬‭to‬‭any‬‭of‬‭the‬‭Defendants‬

‭in this matter.‬

         ‭19.‬      ‭Plaintiff’s‬ ‭Beadnova‬ ‭Works‬ ‭are‬ ‭symbols‬ ‭of‬ ‭Plaintiff’s‬ ‭quality,‬ ‭reputation‬ ‭and‬

‭goodwill and have never been abandoned.‬

         ‭20.‬      ‭Further,‬ ‭Plaintiff‬ ‭has‬ ‭expended‬ ‭substantial‬ ‭time,‬ ‭money‬ ‭and‬ ‭other‬ ‭resources‬

‭developing, advertising and otherwise promoting the Beadnova Works.‬

         ‭21.‬      ‭Each‬ ‭image‬ ‭contained‬ ‭in‬ ‭the‬ ‭Beadnova‬ ‭Works‬ ‭has‬ ‭independent‬ ‭economic‬ ‭value‬

‭and has generated revenue in relation to the retail items and marketing value depicted therein.‬

                                               ‭THE DEFENDANTS‬

         ‭22.‬      ‭Plaintiff‬ ‭is‬ ‭currently‬ ‭unaware‬ ‭of‬ ‭the‬ ‭identity‬ ‭and/or‬ ‭location‬ ‭of‬ ‭Defendants.‬

‭However,‬‭on‬‭information‬‭and‬‭belief,‬‭Defendants‬‭are‬‭individuals‬‭and‬‭business‬‭entities‬‭who‬‭reside‬

‭in‬ ‭the‬ ‭People’s‬ ‭Republic‬ ‭of‬ ‭China‬ ‭or‬ ‭other‬ ‭foreign‬ ‭jurisdictions.‬ ‭Defendants‬ ‭conduct‬ ‭business‬

‭throughout‬ ‭the‬ ‭United‬ ‭States,‬ ‭including‬ ‭within‬ ‭Illinois‬ ‭and‬‭in‬‭this‬‭Judicial‬‭District,‬‭through‬‭the‬

‭operation‬ ‭of‬ ‭the‬ ‭fully‬‭interactive‬‭commercial‬‭websites‬‭and‬‭online‬‭marketplaces‬‭operating‬‭under‬

‭the Defendant Internet Stores identified in Schedule A.‬

         ‭23.‬      ‭Each‬ ‭Defendant‬ ‭targets‬ ‭the‬ ‭United‬ ‭States,‬ ‭including‬ ‭Illinois,‬ ‭and‬ ‭has‬ ‭offered‬ ‭to‬

‭sell‬ ‭and/or‬ ‭has‬ ‭sold‬ ‭and/or‬ ‭continues‬ ‭to‬ ‭sell‬ ‭infringing‬ ‭products‬ ‭(“Infringing‬ ‭Products”)‬ ‭to‬

‭consumers‬ ‭within‬ ‭the‬ ‭United‬ ‭States,‬ ‭including‬ ‭Illinois‬ ‭and‬ ‭in‬ ‭this‬‭Judicial‬‭District‬‭utilizing‬‭the‬

‭Beadnova Works.‬

         ‭24.‬      ‭Each‬ ‭Defendant,‬ ‭without‬ ‭any‬ ‭authorization‬ ‭or‬ ‭license‬ ‭from‬ ‭Plaintiff,‬ ‭has‬

‭knowingly‬ ‭and‬ ‭willfully‬ ‭used‬ ‭and‬ ‭continues‬ ‭to‬ ‭use‬ ‭Plaintiff’s‬ ‭Beadnova‬ ‭Works‬ ‭in‬ ‭connection‬
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‭with‬ ‭advertisement,‬ ‭distribution‬ ‭and‬ ‭offering‬ ‭for‬ ‭sale‬ ‭of‬ ‭the‬ ‭products‬ ‭depicted‬ ‭therein‬ ‭without‬

‭Plaintiff’s consent or authorization.‬

         ‭25.‬    ‭Each‬ ‭of‬ ‭the‬ ‭Defendants’‬ ‭online‬ ‭stores‬ ‭offers‬ ‭shipping‬ ‭to‬ ‭the‬ ‭United‬ ‭States,‬

‭including‬‭Illinois‬‭and‬‭each‬‭Defendant‬‭has‬‭offered‬‭to‬‭sell‬‭retail‬‭items‬ ‭into‬‭Illinois‬‭and‬‭this‬‭judicial‬

‭district utilizing infringing copies of Plaintiff’s Beadnova Works.‬

         ‭26.‬    ‭On‬‭information‬‭and‬‭belief,‬‭Defendants,‬‭either‬‭individually‬‭or‬‭jointly,‬‭operate‬‭one‬

‭or‬ ‭more‬ ‭e-commerce‬ ‭stores‬ ‭including,‬ ‭and‬ ‭possibly‬ ‭not‬ ‭limited‬ ‭to,‬ ‭those‬ ‭listed‬ ‭in‬ ‭Schedule‬ ‭A‬

‭attached‬‭hereto.‬‭Tactics‬‭used‬‭by‬‭Defendants‬‭to‬‭conceal‬‭their‬‭identities‬‭and‬‭the‬‭full‬‭scope‬‭of‬‭their‬

‭operation‬ ‭make‬ ‭it‬ ‭virtually‬ ‭impossible‬ ‭for‬ ‭Plaintiff‬ ‭to‬ ‭learn‬ ‭Defendants’‬ ‭true‬ ‭identities‬‭and‬‭the‬

‭exact‬ ‭interworking‬ ‭of‬ ‭their‬ ‭network.‬ ‭If‬ ‭Defendants‬ ‭provide‬ ‭additional‬ ‭credible‬ ‭information‬

‭regarding their identities, Plaintiff will take appropriate steps to amend the Complaint.‬

         ‭27.‬    ‭This‬ ‭lack‬ ‭of‬ ‭precise‬ ‭information‬ ‭notwithstanding,‬ ‭it‬ ‭is‬ ‭well‬ ‭established‬ ‭that‬

‭e-commerce‬‭sales,‬‭including‬‭through‬‭e-commerce‬‭stores‬‭like‬‭those‬‭of‬‭Defendants,‬‭have‬‭resulted‬

‭in‬‭a‬‭sharp‬‭increase‬‭in‬‭the‬‭shipment‬‭of‬‭unauthorized‬‭products‬‭into‬‭the‬‭United‬‭States.‬‭See‬‭Exhibit‬

‭Two,‬ ‭Fiscal‬ ‭Year‬ ‭2018‬ ‭U.S.‬ ‭Customs‬ ‭and‬ ‭Border‬ ‭Protection‬ ‭(“CBP”)‬ ‭Intellectual‬ ‭Property‬

‭Seizure‬ ‭Statistics‬ ‭Report.‬ ‭Over‬ ‭90%‬ ‭of‬ ‭all‬ ‭CBP‬ ‭intellectual‬ ‭property‬ ‭seizures‬ ‭were‬ ‭smaller‬

‭international‬‭mail‬‭and‬‭express‬‭shipments‬‭(as‬‭opposed‬‭to‬‭large‬‭shipping‬‭containers).‬‭Id.‬‭Over‬‭85%‬

‭of CBP seizures originated from mainland China and Hong Kong.‬‭Id.‬

         ‭28.‬    ‭Further,‬ ‭third‬ ‭party‬ ‭service‬ ‭providers‬ ‭like‬ ‭those‬ ‭used‬ ‭by‬ ‭Defendants‬ ‭do‬ ‭not‬

‭adequately‬ ‭subject‬ ‭new‬ ‭sellers‬ ‭to‬ ‭verification‬ ‭and‬ ‭confirmation‬ ‭of‬ ‭their‬ ‭identities,‬ ‭allowing‬

‭infringers‬‭to‬‭“routinely‬‭use‬‭false‬‭or‬‭inaccurate‬‭names‬‭and‬‭addresses‬‭when‬‭registering‬‭with‬‭these‬

‭e-commerce‬ ‭platforms.”‬ ‭See‬ ‭Exhibit‬ ‭Three,‬ ‭Daniel‬ ‭C.K.‬ ‭Chow,‬ ‭Alibaba,‬ ‭Amazon,‬ ‭and‬

‭Counterfeiting‬‭in‬‭the‬‭Age‬‭of‬‭the‬‭Internet,‬‭40‬‭NW.‬‭J.‬‭INT’L‬‭L.‬‭&‬‭BUS.‬‭157,‬‭186‬‭(2020);‬‭see‬‭also‬
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‭report‬ ‭on‬ ‭“Combating‬ ‭Trafficking‬ ‭in‬ ‭Counterfeit‬ ‭and‬ ‭Pirated‬ ‭Goods”‬ ‭prepared‬ ‭by‬ ‭the‬ ‭U.S.‬

‭Department‬ ‭of‬ ‭Homeland‬ ‭Security’s‬ ‭Office‬ ‭of‬ ‭Strategy,‬ ‭Policy,‬ ‭and‬ ‭Plans‬ ‭(Jan.‬ ‭24,‬ ‭2020),‬

‭attached‬ ‭as‬ ‭Exhibit‬ ‭Four.‬ ‭Since‬ ‭platforms‬ ‭generally‬ ‭do‬ ‭not‬ ‭require‬ ‭a‬ ‭seller‬ ‭on‬ ‭a‬ ‭third-party‬

‭marketplace‬ ‭to‬ ‭identify‬ ‭the‬ ‭underlying‬ ‭business‬ ‭entity,‬ ‭infringers‬ ‭can‬ ‭have‬ ‭many‬ ‭different‬

‭profiles‬ ‭that‬ ‭can‬ ‭appear‬ ‭unrelated‬ ‭even‬ ‭though‬ ‭they‬ ‭are‬ ‭commonly‬ ‭owned‬ ‭and‬ ‭operated.‬ ‭See‬

‭Exhibit Four at 39.‬

         ‭29.‬     ‭On‬‭information‬‭and‬‭belief,‬‭Defendants‬‭have‬‭engaged‬‭in‬‭fraudulent‬‭conduct‬‭when‬

‭registering‬ ‭the‬ ‭Defendant‬ ‭Internet‬ ‭Stores‬ ‭by‬ ‭providing‬ ‭false,‬ ‭misleading‬ ‭and/or‬ ‭incomplete‬

‭information‬ ‭to‬ ‭Internet‬ ‭based‬ ‭e-commerce‬ ‭platforms.‬ ‭On‬ ‭information‬ ‭and‬ ‭belief,‬ ‭certain‬

‭Defendants‬ ‭have‬ ‭anonymously‬ ‭registered‬ ‭and‬ ‭maintained‬ ‭Defendant‬ ‭Internet‬ ‭Stores‬ ‭to‬ ‭prevent‬

‭discovery of their true identities and the scope of their infringement network.‬

         ‭30.‬     ‭On‬ ‭information‬ ‭and‬ ‭belief,‬ ‭Defendants‬ ‭regularly‬ ‭register‬ ‭or‬ ‭acquire‬ ‭new‬ ‭seller‬

‭aliases‬ ‭for‬ ‭the‬ ‭purpose‬‭of‬‭offering‬‭for‬‭sale‬‭and‬‭selling‬‭the‬‭Infringing‬‭Products.‬‭Such‬‭seller‬‭alias‬

‭registration‬ ‭patterns‬ ‭are‬ ‭one‬ ‭of‬ ‭many‬ ‭common‬ ‭tactics‬ ‭used‬ ‭by‬ ‭the‬ ‭Defendants‬ ‭to‬ ‭conceal‬‭their‬

‭identities‬‭and‬‭the‬‭full‬‭scope‬‭and‬‭interworking‬‭of‬‭their‬‭infringement‬‭operation,‬‭and‬‭to‬‭avoid‬‭being‬

‭shut down.‬

         ‭31.‬     ‭Even‬‭though‬‭Defendants‬‭operate‬‭under‬‭multiple‬‭fictitious‬‭aliases,‬‭the‬‭e-commerce‬

‭stores‬‭operating‬‭as‬‭the‬‭Defendant‬‭Internet‬‭Stores‬‭often‬‭share‬‭unique‬‭identifiers,‬‭such‬‭as‬‭templates‬

‭with‬‭common‬‭design‬‭elements.‬‭E-commerce‬‭stores‬‭operating‬‭as‬‭the‬‭Defendant‬‭Internet‬‭Stores,‬‭or‬

‭other‬‭currently‬‭unknown‬‭aliases,‬‭include‬‭other‬‭notable‬‭common‬‭features‬‭such‬‭as‬‭use‬‭of‬‭the‬‭same‬

‭registration‬ ‭patterns,‬ ‭accepted‬ ‭payment‬ ‭methods,‬ ‭check-out‬ ‭methods,‬ ‭keywords,‬ ‭illegitimate‬

‭search‬ ‭engine‬ ‭optimization‬ ‭(SEO),‬ ‭advertising‬ ‭tactics,‬ ‭the‬ ‭same‬ ‭incorrect‬ ‭grammar‬ ‭and‬

‭misspellings,‬ ‭and/or‬ ‭the‬ ‭use‬ ‭of‬ ‭the‬ ‭same‬ ‭text‬ ‭and‬ ‭images.‬ ‭Additionally,‬ ‭the‬ ‭offers‬ ‭for‬ ‭sale‬‭and‬
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‭advertisements‬ ‭by‬ ‭the‬ ‭Defendant‬ ‭Internet‬ ‭Stores‬ ‭bear‬‭similar‬‭irregularities‬‭and‬‭indicia‬‭of‬‭being‬

‭related to one another, suggesting that the Defendants are interrelated.‬

           ‭32.‬   ‭On‬ ‭information‬ ‭and‬ ‭belief,‬‭Defendants‬‭are‬‭in‬‭constant‬‭communication‬‭with‬‭each‬

‭other‬‭and‬‭regularly‬‭participate‬‭in‬‭QQ.com‬‭and‬‭WeChat‬‭chat‬‭rooms‬‭regarding‬‭tactics‬‭for‬‭operating‬

‭multiple accounts, evading detection, pending litigation, and potential new lawsuits.‬

           ‭33.‬   ‭Infringers‬ ‭such‬ ‭as‬ ‭Defendants‬ ‭typically‬ ‭operate‬ ‭under‬‭multiple‬‭seller‬‭aliases‬‭and‬

‭payment‬‭accounts‬‭so‬‭that‬‭they‬‭can‬‭continue‬‭operation‬‭in‬‭spite‬‭of‬‭Plaintiff’s‬‭enforcement‬‭efforts.‬

‭On‬ ‭information‬ ‭and‬ ‭belief,‬ ‭Defendants‬ ‭maintain‬ ‭off-shore‬ ‭bank‬ ‭accounts‬ ‭and‬ ‭regularly‬ ‭move‬

‭funds‬‭from‬‭their‬‭financial‬‭accounts‬‭to‬‭off-shore‬‭accounts‬‭outside‬‭the‬‭jurisdiction‬‭of‬‭this‬‭Court‬‭to‬

‭avoid‬ ‭payment‬ ‭of‬ ‭any‬ ‭monetary‬ ‭judgment‬ ‭awarded‬ ‭to‬ ‭Plaintiff.‬ ‭Indeed,‬ ‭analysis‬ ‭of‬ ‭financial‬

‭transaction‬ ‭logs‬ ‭from‬ ‭previous‬ ‭similar‬ ‭cases‬ ‭indicates‬ ‭that‬ ‭off-shore‬ ‭infringers‬ ‭regularly‬ ‭move‬

‭funds‬ ‭from‬ ‭U.S.-based‬ ‭financial‬ ‭accounts‬ ‭to‬ ‭off-shore‬ ‭accounts‬ ‭outside‬ ‭the‬ ‭jurisdiction‬ ‭of‬ ‭this‬

‭Court.‬

           ‭34.‬   ‭On‬‭information‬‭and‬‭belief,‬‭Defendants,‬‭without‬‭any‬‭authorization‬‭or‬‭license‬‭from‬

‭Plaintiff,‬ ‭knowingly‬ ‭and‬ ‭willfully‬ ‭used‬ ‭and‬ ‭continue‬ ‭to‬‭use‬‭the‬‭Beadnova‬‭Works‬‭in‬‭connection‬

‭with‬ ‭the‬ ‭advertisement,‬ ‭distribution,‬ ‭offering‬ ‭for‬ ‭sale,‬ ‭and‬ ‭sale‬ ‭of‬ ‭Infringing‬‭Products‬‭with‬‭the‬

‭display of Beadnova Works in the United States and Illinois over the Internet.‬

           ‭35.‬   ‭In‬ ‭sum,‬ ‭Plaintiff’s‬ ‭investigation‬ ‭shows‬ ‭that‬ ‭the‬ ‭telltale‬ ‭signs‬ ‭of‬ ‭an‬ ‭illegal‬

‭infringement‬ ‭ring‬ ‭are‬ ‭present‬ ‭in‬ ‭the‬ ‭instant‬ ‭action.‬ ‭For‬ ‭example,‬ ‭Schedule‬ ‭A‬ ‭shows‬‭the‬‭use‬‭of‬

‭store‬‭names‬‭by‬‭the‬‭Defendant‬‭Internet‬‭Stores‬‭that‬‭have‬‭the‬‭appearance‬‭of‬‭being‬‭fabricated.‬‭Even‬

‭if‬ ‭a‬ ‭company‬ ‭name‬ ‭appears‬ ‭to‬ ‭be‬ ‭legitimate,‬ ‭review‬ ‭of‬ ‭the‬ ‭Defendant‬ ‭Internet‬ ‭Stores‬ ‭reveals‬

‭vague or non-existent company descriptions and descriptions of company purpose.‬
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         ‭36.‬    ‭Defendants’‬ ‭unauthorized‬ ‭advertising,‬ ‭marketing,‬ ‭offering‬ ‭for‬ ‭sale‬ ‭products‬

‭displaying‬‭of‬‭the‬‭Beadnova‬‭Works,‬‭throughout‬‭the‬‭United‬‭States,‬‭including‬‭Illinois,‬‭is‬‭irreparably‬

‭harming Plaintiff.‬

                               ‭DEFENDANTS’ UNLAWFUL CONDUCT‬

         ‭37.‬    ‭The‬ ‭success‬ ‭of‬ ‭Plaintiff’s‬ ‭Beadnova‬ ‭Works‬ ‭have‬ ‭resulted‬ ‭in‬‭infringement‬‭of‬‭the‬

‭Beadnova‬‭Works.‬‭Plaintiff‬‭has‬‭identified‬‭numerous‬‭domain‬‭names‬‭linked‬‭to‬‭marketplace‬‭listings‬

‭on‬ ‭certain‬ ‭platforms‬ ‭including‬ ‭the‬ ‭Defendant‬ ‭Internet‬ ‭Stores,‬ ‭which‬ ‭were‬ ‭offering‬ ‭for‬ ‭sale,‬

‭display,‬ ‭advertise‬ ‭and‬ ‭market‬ ‭utilizing‬ ‭the‬ ‭Beadnova‬ ‭copyrighted‬ ‭images‬ ‭without‬ ‭permission.‬

‭These‬‭listings‬‭are‬‭displayed‬‭in‬‭the‬‭Northern‬‭District‬‭of‬‭Illinois‬‭and‬‭Defendants‬‭offer‬‭to‬‭ship‬‭their‬

‭products displayed in the infringing images to the Northern District of Illinois.‬

         ‭38.‬    ‭Plaintiff’s‬ ‭success‬ ‭in‬ ‭utilizing‬ ‭the‬ ‭Beadnova‬ ‭Works‬‭to‬‭market‬‭and‬‭promote‬‭sales‬

‭of‬ ‭the‬ ‭retail‬ ‭items‬ ‭depicted‬ ‭therein‬ ‭has‬ ‭resulted‬ ‭in‬ ‭widespread‬ ‭infringement.‬ ‭Plaintiff‬ ‭has‬

‭identified‬ ‭numerous‬ ‭domain‬ ‭names‬ ‭linked‬ ‭to‬ ‭marketplace‬ ‭listings‬ ‭on‬ ‭at‬ ‭least‬ ‭the‬ ‭DHGate‬

‭platform‬‭which‬‭was‬‭offering,‬‭marketing,‬‭soliciting,‬‭and‬‭advertising‬‭to‬‭consumers‬‭in‬‭this‬‭Judicial‬

‭District‬ ‭and‬ ‭throughout‬ ‭the‬ ‭United‬ ‭States‬ ‭in‬ ‭a‬ ‭manner‬ ‭that‬ ‭violates‬ ‭Plaintiff’s‬ ‭exclusive‬

‭copyright.‬

         ‭39.‬    ‭Upon‬‭information‬‭and‬‭belief,‬‭Defendants‬‭facilitate‬‭sales‬‭by‬‭utilizing‬‭the‬‭Beadnova‬

‭imagery‬‭and‬‭the‬‭Beadnova‬‭Works‬‭to‬‭give‬‭the‬‭impression‬‭that‬‭the‬‭Defendant‬‭is‬‭associated‬‭with‬‭or‬

‭authorized‬ ‭by‬ ‭Plaintiff.‬ ‭Many‬ ‭of‬ ‭the‬ ‭Defendant‬ ‭Internet‬ ‭Stores‬ ‭look‬ ‭sophisticated‬ ‭and‬ ‭accept‬

‭payment‬‭in‬‭U.S.‬‭dollars‬‭via‬‭credit‬‭cards‬‭and‬‭PayPal.‬‭Defendants‬‭further‬‭perpetuate‬‭the‬‭illusion‬‭of‬

‭legitimacy‬ ‭by‬ ‭offering‬ ‭customer‬ ‭service‬ ‭and‬ ‭using‬ ‭indicia‬ ‭of‬ ‭authenticity‬ ‭and‬ ‭security‬ ‭that‬

‭consumers have come to associate with authorized retailers.‬
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         ‭40.‬    ‭Plaintiff‬‭has‬‭not‬‭licensed‬‭or‬‭authorized‬‭Defendants‬‭to‬‭use‬‭its‬‭Beadnova‬‭Works‬‭and‬

‭none of the Defendants are authorized to display the Beadnova Works.‬

         ‭41.‬    ‭Defendants‬ ‭often‬ ‭go‬ ‭to‬ ‭great‬ ‭lengths‬ ‭to‬ ‭conceal‬ ‭their‬ ‭identities‬ ‭and‬ ‭often‬ ‭use‬

‭multiple‬ ‭fictitious‬ ‭names‬ ‭and‬ ‭addresses‬ ‭to‬ ‭register‬ ‭and‬ ‭operate‬ ‭their‬ ‭massive‬ ‭network‬ ‭of‬

‭Defendant‬ ‭Internet‬ ‭Stores.‬ ‭For‬ ‭example,‬ ‭to‬ ‭avoid‬ ‭detection,‬ ‭Defendants‬ ‭register‬ ‭Defendant‬

‭Internet‬‭Stores‬‭using‬‭names‬‭and‬‭physical‬‭addresses‬‭that‬‭are‬‭incomplete,‬‭contain‬‭randomly‬‭typed‬

‭letters,‬‭or‬‭fail‬‭to‬‭include‬‭cities‬‭or‬‭states.‬‭Upon‬‭information‬‭and‬‭belief,‬‭Defendants‬‭regularly‬‭create‬

‭new‬‭websites‬‭and‬‭online‬‭marketplace‬‭accounts‬‭on‬‭various‬‭platforms‬‭using‬‭the‬‭identities‬‭listed‬‭in‬

‭Schedule‬ ‭A‬ ‭to‬ ‭the‬ ‭Complaint,‬ ‭as‬ ‭well‬ ‭as‬ ‭other‬ ‭unknown‬ ‭fictitious‬ ‭names‬ ‭and‬ ‭addresses.‬ ‭Such‬

‭Defendant‬ ‭Internet‬ ‭Store‬ ‭registration‬ ‭patterns‬ ‭are‬ ‭one‬ ‭of‬ ‭many‬ ‭common‬ ‭tactics‬ ‭used‬ ‭by‬ ‭the‬

‭Defendants‬ ‭to‬ ‭conceal‬ ‭their‬ ‭identities,‬ ‭the‬ ‭full‬ ‭scope‬ ‭and‬ ‭interworking‬ ‭of‬ ‭their‬ ‭infringing‬

‭operation, and to avoid being shut down.‬

         ‭42.‬    ‭There‬ ‭are‬ ‭also‬ ‭similarities‬ ‭among‬ ‭the‬ ‭Defendant‬ ‭Internet‬ ‭Stores.‬ ‭For‬ ‭example,‬

‭some‬ ‭of‬ ‭the‬ ‭Defendant‬ ‭websites‬ ‭have‬ ‭virtually‬ ‭identical‬ ‭layouts.‬ ‭In‬ ‭addition,‬ ‭the‬ ‭Defendant‬

‭Internet‬ ‭Stores‬ ‭bear‬ ‭similarities‬ ‭and‬ ‭indicia‬ ‭of‬ ‭being‬ ‭related‬ ‭to‬ ‭one‬ ‭another,‬ ‭suggesting‬ ‭that‬

‭Defendants‬ ‭are‬ ‭interrelated.‬ ‭For‬ ‭example,‬‭some‬‭Defendants‬‭have‬‭the‬‭same‬‭location‬‭in‬‭China‬‭or‬

‭the same products for sale.‬

         ‭43.‬    ‭Defendants‬ ‭in‬ ‭this‬ ‭case‬ ‭and‬ ‭defendants‬ ‭in‬ ‭other‬ ‭similar‬ ‭cases‬ ‭against‬ ‭online‬

‭infringers‬ ‭use‬ ‭a‬ ‭variety‬ ‭of‬ ‭other‬ ‭common‬ ‭tactics‬ ‭to‬ ‭evade‬ ‭enforcement‬ ‭efforts.‬ ‭For‬ ‭example,‬

‭infringers‬‭like‬‭Defendants‬‭will‬‭often‬‭register‬‭new‬‭domain‬‭names‬‭or‬‭online‬‭marketplace‬‭accounts‬

‭under new aliases once they receive notice of a lawsuit.‬

         ‭44.‬    ‭Further,‬ ‭infringers‬ ‭such‬ ‭as‬ ‭Defendants‬ ‭typically‬ ‭operate‬ ‭multiple‬ ‭credit‬ ‭card‬

‭merchant‬ ‭accounts‬ ‭and‬ ‭vendor‬ ‭accounts‬ ‭such‬ ‭as‬ ‭PayPal‬ ‭accounts‬ ‭behind‬ ‭layers‬ ‭of‬ ‭payment‬
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‭gateways‬ ‭so‬ ‭that‬ ‭they‬ ‭can‬ ‭continue‬ ‭operation‬ ‭in‬ ‭spite‬ ‭of‬ ‭Plaintiff’s‬ ‭enforcement‬ ‭efforts.‬ ‭Upon‬

‭information‬ ‭and‬ ‭belief,‬ ‭the‬ ‭foreign‬ ‭Defendants‬ ‭maintain‬ ‭off-shore‬ ‭bank‬ ‭accounts‬‭and‬‭regularly‬

‭move‬ ‭funds‬ ‭from‬ ‭their‬ ‭payment‬ ‭accounts‬ ‭to‬‭off-shore‬‭bank‬‭accounts‬‭outside‬‭the‬‭jurisdiction‬‭of‬

‭this‬ ‭Court.‬ ‭Indeed,‬ ‭analysis‬ ‭of‬ ‭payment‬ ‭transaction‬ ‭logs‬ ‭from‬ ‭previous‬ ‭similar‬ ‭cases‬ ‭indicates‬

‭that‬‭offshore‬‭counterfeiters‬‭regularly‬‭move‬‭funds‬‭from‬‭U.S.-based‬‭accounts‬‭to‬‭China-based‬‭bank‬

‭accounts outside the jurisdiction of this Court.‬

         ‭45.‬     ‭Defendants,‬ ‭without‬ ‭any‬ ‭authorization‬ ‭or‬ ‭license‬ ‭from‬‭Plaintiff,‬‭have‬‭knowingly‬

‭and‬ ‭willfully‬ ‭used‬ ‭and‬ ‭continue‬ ‭to‬ ‭use‬ ‭the‬ ‭Beadnova‬ ‭Works‬ ‭in‬ ‭connection‬ ‭with‬ ‭the‬

‭advertisement,‬ ‭distribution,‬ ‭offering‬ ‭for‬ ‭sale,‬‭and‬‭display‬‭through‬‭the‬‭United‬‭States‬‭and‬‭Illinois‬

‭over‬ ‭the‬ ‭Internet.‬ ‭Each‬ ‭Defendant‬‭Internet‬‭Store‬‭offers‬‭shipping‬‭to‬‭the‬‭United‬‭States,‬‭including‬

‭Illinois.‬

         ‭46.‬     ‭Defendants’‬ ‭use‬ ‭of‬ ‭the‬ ‭Beadnova‬ ‭Works‬ ‭in‬ ‭connection‬ ‭with‬ ‭the‬ ‭advertising,‬

‭distribution,‬ ‭offering‬ ‭for‬ ‭sale,‬ ‭display‬ ‭and‬ ‭marketing‬ ‭within‬ ‭Illinois‬ ‭is‬ ‭likely‬ ‭to‬ ‭cause‬ ‭and‬ ‭has‬

‭caused‬ ‭confusion,‬ ‭mistake,‬ ‭and‬ ‭deception‬ ‭by‬‭and‬‭among‬‭consumers‬‭and‬‭is‬‭irreparably‬‭harming‬

‭Plaintiff.‬

                                     ‭INFRINGEMENT OF COPYRIGHT‬
                                           ‭(17 U.S.C §101 ET SEQ.)‬

         ‭47.‬     ‭Plaintiff‬‭repleads‬‭and‬‭incorporates‬‭by‬‭reference‬‭each‬‭and‬‭every‬‭allegation‬‭set‬‭forth‬

‭in the preceding paragraphs as if fully set forth herein.‬

         ‭48.‬     ‭Plaintiff has complied in all respects with the Copyright Act of the United States‬

‭and all other laws governing copyright and secured the exclusive rights and privileges in and to‬

‭the copyright at issue in this action.‬
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           ‭49.‬   ‭Pursuant‬ ‭to‬ ‭17‬ ‭U.S.C.‬ ‭§‬ ‭411‬‭(a),‬‭Plaintiff‬‭registered‬‭its‬‭copyright‬‭for‬‭advertising‬

‭and‬‭marketing‬‭photographs,‬‭the‬‭Beadnova‬‭Works.‬‭The‬‭registrations‬‭for‬‭the‬‭Beadnova‬‭Works‬‭are‬

‭valid, subsisting, unrevoked and uncancelled.‬

           ‭50.‬   ‭Defendants directly infringed one or more of Plaintiff’s exclusive rights in its‬

‭federally registered Beadnova Works under 17 U.S.C. § 106.‬

           ‭51.‬   ‭Defendants‬ ‭copied,‬ ‭displayed,‬ ‭and‬ ‭distributed‬ ‭Plaintiff’s‬ ‭copyright‬ ‭protected‬

‭Beadnova‬ ‭Works‬ ‭and/or‬ ‭prepared‬ ‭derivative‬ ‭works‬ ‭based‬ ‭upon‬ ‭Plaintiff’s‬ ‭copyright‬ ‭protected‬

‭Beadnova‬‭Works‬‭in‬‭violation‬‭of‬‭Plaintiff’s‬‭exclusive‬‭rights‬‭under‬‭17‬‭U.S.C.‬‭§106(1),‬‭(2)‬‭and/or‬

‭(5).‬

           ‭52.‬   ‭Defendants’‬ ‭conduct‬ ‭constitutes‬ ‭willful‬ ‭and‬ ‭direct‬ ‭copyright‬ ‭infringement‬ ‭of‬

‭Plaintiff’s copyright protected Beadnova Works.‬

           ‭53.‬   ‭Defendants‬ ‭profited‬ ‭from‬ ‭the‬ ‭direct‬ ‭infringement‬ ‭of‬ ‭the‬ ‭exclusive‬ ‭rights‬ ‭of‬

‭Plaintiff in the Beadnova Works at issue in this case under the Copyright Act.‬

           ‭54.‬   ‭Defendants’‬ ‭infringement‬ ‭is‬ ‭not‬ ‭limited‬ ‭to‬ ‭the‬ ‭copyright‬ ‭infringement‬ ‭listed‬

‭above. Plaintiff will identify such additional infringement after discovery.‬

           ‭55.‬   ‭On‬ ‭information‬ ‭and‬ ‭belief,‬ ‭there‬ ‭is‬ ‭a‬ ‭business‬ ‭practice‬ ‭of‬ ‭infringement‬ ‭by‬

‭Defendants.‬

           ‭56.‬   ‭On‬ ‭information‬ ‭and‬ ‭belief,‬ ‭defendants‬ ‭routinely‬ ‭and‬ ‭intentionally‬ ‭infringe‬ ‭the‬

‭intellectual‬ ‭property‬ ‭rights‬ ‭of‬ ‭others,‬ ‭including‬ ‭but‬ ‭not‬‭limited‬‭to,‬‭acting‬‭with‬‭willful‬‭blindness‬

‭and/or reckless disregard.‬

           ‭57.‬   ‭Plaintiff has been damaged by the Defendants’ acts of copyright infringement.‬

           ‭58.‬   ‭The harm to Plaintiff is irreparable.‬
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         ‭59.‬     ‭Plaintiff‬‭is‬‭entitled‬‭to‬‭temporary,‬‭preliminary‬‭and‬‭permanent‬‭injunctive‬‭relief‬‭from‬

‭Defendants’ willful infringement.‬

         ‭60.‬     ‭As‬ ‭a‬ ‭result‬ ‭of‬ ‭Defendants’‬ ‭infringement‬ ‭of‬ ‭Plaintiff’s‬ ‭copyright‬ ‭and‬ ‭exclusive‬

‭rights‬ ‭under‬ ‭copyright,‬ ‭Plaintiff‬ ‭is‬ ‭entitled‬ ‭to‬ ‭actual‬ ‭and/or‬ ‭statutory‬ ‭damages,‬ ‭including‬ ‭any‬

‭profits‬‭obtained‬‭by‬‭Defendants‬‭attributable‬‭to‬‭the‬‭infringements,‬‭pursuant‬‭to‬‭17‬‭U.S.C.‬‭§504‬‭for‬

‭Defendants’ infringement of the Beadnova Works.‬

         ‭61.‬     ‭Plaintiff‬ ‭is‬ ‭entitled‬‭to‬‭recover‬‭its‬‭reasonable‬‭costs‬‭and‬‭attorneys’‬‭fees‬‭incurred‬‭in‬

‭prosecuting this action.‬

                                             ‭PRAYER FOR RELIEF‬

         ‭WHEREFORE‬‭, Plaintiff prays for judgment against Defendants‬‭as follows:‬

‭1)‬     ‭That‬ ‭Defendants,‬ ‭their‬ ‭affiliates,‬ ‭officers,‬ ‭agents,‬ ‭servants,‬ ‭employees,‬ ‭attorneys,‬

‭confederates,‬ ‭and‬ ‭all‬ ‭persons‬ ‭acting‬ ‭for,‬ ‭with,‬ ‭by,‬ ‭through,‬ ‭under,‬ ‭or‬ ‭in‬ ‭concert‬ ‭with‬ ‭them‬ ‭be‬

‭temporarily, preliminarily, and permanently enjoined and restrained from:‬

         ‭a.‬      ‭using the Beadnova Works in any manner in connection with the distribution,‬

         ‭marketing, advertising, offering for sale, or sale of any product in connection with the‬

         ‭Beadnova Works;‬

         ‭b.‬      ‭using Plaintiff’s Beadnova Works in marketing, advertising, soliciting, or display,‬

         ‭derivative or directly, which is not directly authorized by Plaintiff;‬

         ‭c.‬      ‭committing any acts calculated to cause consumers to believe that Defendants’‬

         ‭products are those sold under the authorization, control, or supervision of Plaintiff, or are‬

         ‭sponsored by, approved by, or otherwise connected with Plaintiff;‬

         ‭d.‬      ‭further infringing the Works and damaging Plaintiff’s goodwill;‬

         ‭e.‬      ‭operating and/or hosting webpages which are involved with the distribution,‬
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         ‭marketing, advertising, offering for sale, or sale of products or inventory not authorized‬

         ‭by Plaintiff;‬

‭2)‬     ‭Entry‬ ‭of‬ ‭an‬ ‭Order‬ ‭that,‬ ‭upon‬ ‭Plaintiff’s‬ ‭request,‬ ‭those‬ ‭in‬ ‭privity‬ ‭with‬ ‭Defendants‬ ‭and‬

‭those‬ ‭with‬ ‭notice‬ ‭of‬ ‭the‬ ‭injunction,‬ ‭including,‬ ‭without‬ ‭limitation,‬ ‭any‬ ‭online‬ ‭marketplace‬

‭platforms,‬‭including‬‭but‬‭not‬‭limited‬‭to‬‭DHGate,‬‭credit‬‭cards,‬‭banks,‬‭merchant‬‭account‬‭providers,‬

‭third‬ ‭party‬ ‭processors‬ ‭and‬ ‭other‬ ‭payment‬ ‭processing‬‭service‬‭providers‬‭and‬‭payment‬‭processing‬

‭platforms,‬ ‭including‬ ‭but‬ ‭not‬ ‭limited‬ ‭to‬ ‭Paypal‬ ‭and‬ ‭Payoneer‬ ‭(collectively,‬ ‭the‬ ‭“Third‬ ‭Party‬

‭Providers”) shall:‬

         ‭a.‬     ‭disable and cease providing services being used by Defendants, currently or in the‬

         ‭future, to engage in the sale of goods using the Beadnova Works;‬

         ‭b.‬     ‭disable and cease displaying any advertisements used by or associated with‬

         ‭Defendants in connection with the sale of goods using without authorization the‬

         ‭Beadnova Works;‬

         ‭c.‬     ‭disable and cease providing services to engage in the advertisements using the‬

         ‭Beadnova Works or derivative works thereof;‬

         ‭d.‬     ‭take all steps necessary to prevent links from Defendants’ Internet Stores from‬

         ‭displaying in search results;‬

‭3)‬     ‭For Judgment in favor of Plaintiff against Defendants that they have:‬

         ‭a.‬     ‭willfully infringed Plaintiff’s rights in its federally registered copyright pursuant‬

         ‭to 17 U.S.C. §501;‬

         ‭b.‬     ‭otherwise injured the business of Plaintiff by Defendants’ acts and conduct set‬

         ‭forth in this Complaint;‬

         ‭c.‬     ‭That Defendants account for all profits and damages resulting from Defendants’‬
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         ‭copyright‬‭infringement,‬‭or‬‭statutory‬‭damages,‬‭at‬‭Plaintiff’s‬‭election,‬‭for‬‭all‬‭infringements‬

         ‭involved‬ ‭in‬ ‭the‬ ‭action,‬ ‭with‬ ‭respect‬ ‭to‬ ‭any‬ ‭one‬ ‭work,‬ ‭for‬ ‭which‬ ‭any‬ ‭one‬ ‭defendant‬ ‭is‬

         ‭liable‬ ‭individually,‬ ‭or‬‭for‬‭which‬‭defendants‬‭are‬‭liable‬‭jointly‬‭and‬‭severally‬‭with‬‭another,‬

         ‭in‬‭a‬‭sum‬‭of‬‭not‬‭less‬‭than‬‭$750‬‭or‬‭more‬‭than‬‭$30,000‬‭as‬‭the‬‭Court‬‭considers‬‭just‬‭pursuant‬

         ‭to‬‭17‬‭U.S.C.‬‭§504(c)(1),‬‭or‬‭to‬‭the‬‭extent‬‭the‬‭Court‬‭finds‬‭that‬‭infringement‬‭was‬‭committed‬

         ‭willfully,‬ ‭an‬ ‭award‬ ‭of‬ ‭statutory‬ ‭damages‬ ‭to‬ ‭a‬ ‭sum‬ ‭of‬ ‭not‬ ‭more‬ ‭than‬ ‭$150,000‬ ‭per‬

         ‭violation, pursuant to 17 U.S.C. §504(c)(2);‬

         ‭d.‬     ‭That‬ ‭Plaintiff‬ ‭be‬ ‭awarded‬ ‭its‬ ‭reasonable‬ ‭attorneys’‬ ‭fees‬ ‭and‬ ‭costs‬ ‭as‬ ‭available‬

         ‭under 17 U.S.C. § 505, and other applicable law;‬

‭4)‬     ‭Entry‬‭of‬‭an‬‭Order‬‭that,‬‭upon‬‭Plaintiff’s‬‭request,‬‭Defendants‬‭and‬‭any‬‭financial‬‭institutions,‬

‭payment‬ ‭processors,‬ ‭banks,‬‭escrow‬‭services,‬‭money‬‭transmitters,‬‭or‬‭marketplace‬‭platforms,‬‭and‬

‭their related companies and affiliates, identify and restrain all funds, up to and including the total‬

‭amount‬ ‭of‬ ‭judgment,‬ ‭in‬ ‭all‬ ‭financial‬ ‭accounts‬ ‭and/or‬ ‭sub-accounts‬‭used‬‭in‬‭connection‬‭with‬‭the‬

‭Seller‬ ‭IDs,‬ ‭or‬ ‭other‬ ‭alias‬ ‭seller‬ ‭identification‬ ‭or‬ ‭ecommerce‬ ‭store‬ ‭names‬ ‭used‬ ‭by‬ ‭Defendants‬

‭presently‬‭or‬‭in‬‭the‬‭future,‬‭as‬‭well‬‭as‬‭any‬‭other‬‭related‬‭accounts‬‭of‬‭the‬‭same‬‭customer(s)‬‭and‬‭any‬

‭other‬ ‭accounts‬ ‭which‬ ‭transfer‬ ‭funds‬ ‭into‬ ‭the‬ ‭same‬ ‭financial‬ ‭institution‬ ‭account(s)‬ ‭and‬ ‭remain‬

‭restrained‬ ‭until‬ ‭such‬ ‭funds‬ ‭are‬ ‭surrendered‬ ‭to‬ ‭Plaintiff‬ ‭in‬ ‭partial‬ ‭satisfaction‬ ‭of‬ ‭the‬ ‭monetary‬

‭judgment entered herein;‬

‭5)‬     ‭Entry of an award of prejudgment interest on the judgment amount;‬

‭6)‬     ‭Award any and all other relief that this Court deems just and proper.‬
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                                  ‭DEMAND FOR JURY TRIAL‬

       ‭Plaintiff demands a trial by jury on all issues so triable.‬

‭Respectfully submitted this 2nd of May.‬

                                                                /‭s/ Lydia Pittaway‬
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                                                                       ‭Attorney for‬‭Plaintiff‬
